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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

          -v-                                                   No. 12-cr-45-2 (RJS)
                                                                      ORDER
 JERMAINE DORE,

                               Defendant.



RICHARD J. SULLIVAN, Circuit Judge:

         The Court previously ordered the parties to reserve October 29, 2020 and October 30, 2020

at 10:00 a.m. as alternative dates for Defendant Dore’s re-sentencing. (Doc. No. 658.) Due to the

logistical challenges of planning in-person proceedings during the COVID-19 pandemic, the re-

sentencing can no longer take place in Courtroom 11B at 10:00 a.m. Accordingly, IT IS HEREBY

ORDERD THAT Defendant Dore’s re-sentencing will instead take place on October 30, 2020 at

11:00 a.m. in Courtroom 12D at the Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New

York, NY, 10007.

SO ORDERED.

Dated:          October 16, 2020
                New York, New York
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                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation
